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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

SOCIAL POSITIONING INPUT           §
SYSTEMS, LLC,                      §
                                   §
      Plaintiff,                   §         Case No: 8:21-cv-02492-SDM-SPF
                                   §
vs.                                §         PATENT CASE
                                   §
RUPTELA USA, INC.,                 §
                                   §
      Defendant.                   §
__________________________________ §

      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”)

files this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action

may be dismissed by the plaintiff without order of court by filing a notice of

dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Ruptela

USA, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear

its own fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                  |1
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Dated: December 30, 2021.             Respectfully submitted,


                                             /s/ Barbra Anne Stern
                                      Barbra A. Stern, Esquire
                                      Law Offices of Barbra Stern PA
                                      808 E. Las Olas Blvd. Suite 102
                                      Fort Lauderdale, FL 33301
                                      Phone: (954) 743-4710
                                      Direct Dial (954) 239-7249
                                      barbra@sterncnslt.com


                                      ATTORNEY(S) FOR PLAINTIFF


                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed
electronically and served by operation of the Court’s electronic filing system on
December 30, 2021. Parties may access the foregoing through the Court’s system.

                                      /s/ Barbra Anne Stern
                                      Barbra A. Stern, Esquire




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                 |2
